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                                No. 20-15948


                             IN THE
                UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT


                      ANDREW TETER and JAMES GRELL,
                                                 Plaintiffs-Appellants,
                                   v.

ANNE E. LOPEZ, in her Official Capacity as the Attorney General of the State of
Hawai‘i and DARRYL NG, in his Official Capacity as the State Sheriff Division
                                Administrator,
                                                       Defendants-Appellees.


  On Appeal from the United States District Court for the District of Hawai‘i
        Honorable Alan C. Kay, Senior United States District Judge
                   (Civil No. 19-cv-00183-ACK-WRP)

   BRIEF OF AMICUS CURIAE CITY & COUNTY OF HONOLULU
    IN SUPPORT OF PETITION FOR PANEL REHEARING AND
                   REHEARING EN BANC

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               STATEMENT OF INTEREST OF AMICUS CURIAE

        The City & County of Honolulu (“City”) is the municipal corporation

representing the most populous county in the State of Hawai‘i. State-wide public

safety policies such as Hawai‘i Revised Statutes (“HRS”) § 134-53 have

significant impacts on the residents of and visitors to the City.

        This case, however, is about more than butterfly knives. The new standard

invented by the Supreme Court in Bruen requires governments to produce

extensive historical evidence in support of laws that, in many cases, are over a

century old. 1 In the instant case, the Panel refused to allow the government

sufficient time to present this historical evidence and, instead of remanding to the

District Court to develop a record, required the parties to submit new evidence to

this Court.

        The City has an interest in ensuring that it has an adequate opportunity to

defend itself against Second Amendment lawsuits in this new legal landscape.

While the City believes that the Panel was wrong on the merits, the City is

particularly troubled by the Panel’s failure to allow the government adequate time

to submit evidence, as well as the Panel’s failure to remand this case to the District

Court for submission and consideration of this evidence. These failures, if




1
    New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).

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uncorrected, will threaten the ability of government agencies to respond to all

Second Amendment lawsuits.

         This brief is filed pursuant to Circuit Court Rule 29-2(a) and Fed. R. App. P.

29(a)(2), as counsel for both Plaintiffs and Defendants have consented to the filing

of a brief amicus curiae in support of the Petition for Panel Rehearing and

Rehearing En Banc.

                                     ARGUMENT

    A.      Thirty days is insufficient for a municipality to identify and procure
            expert witnesses, prepare an expert report, and draft a
            memorandum based on that report.

         The Supreme Court decided Bruen while the appeal in this case was pending

before the Panel. The Panel provided the State with only 30 days to produce a

supplemental brief – with no remand to the District Court – to produce evidence

that the statute in question “is consistent with this Nation’s historical tradition of

firearm regulation.” 2 Bruen, 142 S. Ct. at 2126. Had this case included the City

(as many other Second Amendment lawsuits in Hawai‘i do), it is unlikely that the

City could have responded meaningfully in such a time frame.

         The new Bruen standard frequently results in the burden shifting to the

government to produce historical evidence to support restrictions on firearms and



2
  The Panel denied Hawai‘i’s request to remand in light of Bruen, instead directing
the parties to submit supplemental briefs within 30 days. ECF #66.

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other weapons that, often, have been in existence for many decades.3 See, e.g.,

Duncan v. Bonta, 2023 U.S. Dist. LEXIS 169577, *44 (S.D. Cal. Sept. 22, 2023)

(recognizing that “the Bruen approach places the burden upon the government to

justify its firearm restrictions by demonstrating that they are consistent with the

Nation’s historical tradition of firearm regulation as understood at the founding”

and that “judicial review under the Bruen standard is in its infancy”).

      If a State or municipality enacted legislation in 2023 – post-Bruen – it may

be reasonable to expect that the government have historical evidence to support the

legislative decision readily available (because, in passing legislation in 2023, the

government should be aware of the legal standard the legislation must meet). In

the instant case, however, the statute in question (HRS § 134-53) is 64 years old,

passed the same year Hawai‘i became a state; the specific provision on butterfly

knives was added twenty-four years ago. See Laws of the Territory of Hawaii, Act

225, § 1 (1959); Act 285 (1999) (legislative history at ECF #29 at 15-16).

Legislators at the time could not have foreseen that the United States Supreme

Court, decades in the future, would require centuries-old historical support to enact

commonplace legislation targeting dangerous weaponry. Consequently,


3
 Indeed, Hawai‘i has a long history – predating the ratification of the Fourteenth
Amendment – of restricting firearms in public. See, e.g., 1852 Haw. Sess. Laws
§ 1 at 19 (providing that individuals who carried a pistol or other deadly weapon
were subject to a fine, or to imprisonment if unable to pay the fine), available in
Hawaiian (original) at https://bit.ly/1852-Hawaii-Laws.

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governments typically do not have pre-prepared collections of laws from the

1600s, 1700s, and 1800s (and expert witnesses to provide the context for those

laws) to support longstanding regulations, compiled just in case a lawsuit is filed.

The City certainly does not have the resources to do so. For each new lawsuit, the

government must compile historical evidence demonstrating consistency with a

national historical tradition of regulation. Bruen, 142 S. Ct. at 2126.

      The practical reality for municipalities like the City – which, like every other

municipality, has limited resources 4 – is that this work takes time. To adequately

defend against a post-Bruen Second Amendment suit, 5 the City must retain one or

more expert witnesses to describe the historical context for laws that existed in the

1600s, 1700s, and 1800s. As the Court can imagine, there are not many

individuals who are (1) experts in weapon regulations in England and the United

States in the 1600s, 1700s, and 1800s; (2) willing to give expert testimony on a



4
 The City has approximately 43 attorneys in its Department of the Corporation
Counsel (the City’s legal department) – roughly 12 of whom are assigned to the
Litigation Section – for a municipal government serving approximately 1,000,000
people and a workforce of over 8,500 City employees. See City & County of
Honolulu, Dept. of Human Resources (updated 10/26/22), available at
https://bit.ly/HNL-DHR-2022; U.S. Census Bureau, QuickFacts, Honolulu County,
Hawaii (2022), available at https://bit.ly/HNL-Census-2022.
5
 This is not merely theoretical: the City has been sued, post-Bruen, for alleged
Second Amendment violations. See Pagba v. Lopez and City & County of
Honolulu, 22-cv-00521-JMS-KJM (D. Haw.) (complaint filed December 16,
2022).

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socially divisive issue; and (3) able to produce an expert report on the particular

regulation being challenged within 30 days. With the recent proliferation of

Second Amendment litigation, finding a qualified witness who is available to do

the work on an expedited basis is extremely difficult. It is even more difficult for

government agencies in Hawai‘i, as the City has yet to identify any individuals

within the State who are qualified to provide expert testimony and who are willing

to do so.6

      Even if identifying an available expert witness were easy, however,

government defendants must still contend with applicable procurement regulations.

This Court may have some familiarity with federal procurement, and thus may be

aware that purchasing something within a matter of days or weeks is frequently

impossible. The following section describes the City’s process; the City

respectfully requests that the Court consider these constraints in determining that a

30-day deadline would not allow the City a meaningful opportunity to defend itself

in court.




6
  Ordinarily, the parties would have substantially more time to disclose the
identities of expert witnesses, and substantially more time after that to produce an
expert report. See, e.g., Fed. R. Civ. P. 26 (requiring Initial Disclosures to be filed
14 days after the parties’ Rule 26(f) meeting, which may not occur for months after
the filing of a complaint).

                                          5
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    B.      The City’s procurement process – much of which is outside the
            control of the Department of the Corporation Counsel – results in
            lengthy delays in retaining expert witnesses.

         The largest obstacle to filing within such an expedited schedule is the City’s

procurement process. Compliance with the City’s process to retain expert

witnesses requires approximately eight steps over the course of several months.

         First, the City would have to identify one or more expert witnesses capable

of producing an expert report within 30 days, within the budget available to the

Department of Corporation Counsel or approved by the City Council. 7 Some of

those difficulties are described above.

         Second, the potential expert witness would have to register as a vendor with

the City & County of Honolulu through the Honolulu Vendor Self Service page at

https://vss.honolulu.gov/.

         Third, the potential expert witness would have to register as a vendor with

Hawai‘i Compliance Express (“HCE”), https://vendors.ehawaii.gov/hce/, which


7
  If the Department of Corporation Counsel does not have sufficient funds
available for the expert witness, then the Department must make a request to a City
Council Committee, after which the full Council must approve the funding at a
separate meeting. Under Hawai‘i’s Sunshine Law, HRS chapter 92, City agencies
– including the City Council and its committees – are generally required to place
items on a public agenda at least six days in advance of the meeting. A court-
imposed deadline would likely allow the City to schedule the meeting on shorter
notice; the more practical problem, though, is that the City Council generally meets
only once a month, and it is unclear whether the Council would be amenable to
scheduling a special meeting solely to authorize funding for an expert witness.


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allows vendors to obtain clearances (as required by HRS § 103-53) from the State

Department of Taxation, the State Department of Industrial and Labor Relations,

and the Internal Revenue Service. 8 A vendor will only be deemed “compliant”

with HCE after each of the agencies – the Department of Taxation et al. – verifies

the vendor’s qualifications.

      Fourth, while the potential expert witness is completing this process, staff

within the Department of the Corporation Counsel – typically, the attorney

working on the case (with assistance from administrative staff) – prepare an

electronic form (“eForm”) explaining the need for the expert’s services, the scope

of the expert’s services, and the cost of the expert’s services. That form must be

approved by the attorney’s supervisor and then the Corporation Counsel (i.e., the

City’s top attorney) or the First Deputy Corporation Counsel.

      Fifth, there is a second eForm – which, like the first, must be prepared by the

attorney working on the case (with assistance from administrative staff), which

must again be approved by the Corporation Counsel or First Deputy. The form is

routed to the City’s Department of Budget and Fiscal Services (“BFS”) for review

and approval.



8
 Vendors may also need to obtain a clearance from the State Department of
Commerce and Consumer Affairs. See Dept. of Budget and Fiscal Services, City
& County of Honolulu, “How the City Buys” (2013) at 8, available at
https://bit.ly/HowTheCityBuys-2013.

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      Sixth, the Department of the Corporation Counsel must prepare a contract to

be signed by the City and the proposed expert. While much of the contractual

language is the same from expert to expert, the contract must be tailored to identify

the scope of the work, the timing of the work, how the expert will be paid (flat fee

or hourly), whether the expert will need to travel and, if so, what travel expenses

will be reimbursed, and so on. These contracts are typically around eighteen pages

long, and must be reviewed and approved by the First Deputy Corporation Counsel

(or the Corporation Counsel herself) before being sent to BFS for review and

approval.

      Seventh, the contract must be approved by BFS. Contract review typically

takes several weeks, and this process is not within the control of the attorneys

working on the case. BFS can expedite the review; however, to get BFS to

expedite the request, the Department of Corporation Counsel would have to draft

another memorandum to request that the item be deemed a priority, and the request

must be approved by the Director of BFS.9 If the request to expedite is approved,

review of that contract will jump ahead of all other procurements (except those

other procurements also deemed to be priorities).




9
  Perhaps requiring an additional memorandum and an additional approval is not
the ideal way to expedite a process, but this is the process as it currently stands.

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      Eighth, the proposed expert must review and sign the contract, and the

contract must be notarized before being physically delivered to BFS. If the expert

has proposed changes, of course, there is further review (and further delay) by both

the Department of the Corporation Counsel and BFS. The experts that have been

retained by the State are typically from outside of Hawai‘i, thus increasing the time

required for physical documents to arrive in Honolulu for processing.

      It is worth noting that this is an expedited process for City procurement: this

process only applies in situations (like with expert witnesses) that are exempt from

the normal competitive bidding process.

      Finally, the Court should be aware that City employees are subject to civil

and criminal penalties for violating procurement law. See Hawai‘i Administrative

Rules (“HAR”) §§ 3-131-3, 3-131-4.10 The City understands that courts generally

want to move quickly to address allegations of constitutional harm, and courts may

set short deadlines for a response from the City or other municipalities. The courts

may, understandably, prefer that municipal employees simply ignore procurement

law. However, it is unfair to ask a municipal attorney to knowingly violate

procurement law to meet an artificial 30-day deadline – particularly where, as in



10
  Inasmuch as this case does not require the Court to study these administrative
provisions, an addendum pursuant to Fed. R. App. P. 28(f) is not included.
However, the Rules are available at https://bit.ly/HAR-3-131 (sections 3-131-3 and
3-131-4 appear at pages 6-7).

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this case, the law in question is decades old and the litigation has been ongoing for

three years.

                                  CONCLUSION

      Bruen upended Second Amendment jurisprudence by proscribing a new

method for evaluating the constitutionality of regulations of arms. Government

agencies – which now have the burden of proof – cannot adequately prepare a

comprehensive historical analysis on an expedited basis. If states and

municipalities are required to provide centuries-old evidence to support

longstanding, common-sense regulations on firearms, we must be given a

meaningful opportunity to do so. As such, the City respectfully requests that this

Court grant the Petition for Panel Rehearing and Rehearing En Banc.


      DATED: Honolulu, Hawai‘i, October 2, 2023.

                                 By:   /s/ Daniel M. Gluck

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                                  AUTHORSHIP

      No party’s counsel authored any part of this brief. No person or entity, other

than the City & County of Honolulu and its counsel, paid for the brief’s

preparation or submission.



          FED. R. APP. P. 32(g) CERTIFICATE OF COMPLIANCE

Pursuant to Fed. R. App. P. 32(g), I certify the following:

   1. This petition complies with the type-volume limitation of Fed. R. App. P.

      29(b)(1) and Circuit Rule 29-2(c)(2) because it contains 2,301 words,

      excluding those parts exempted by Fed. R. App. P. 32(f).

   2. This petition complies with the format, typeface, and type style requirements

      of Fed. R. App. P. 32(a)(4)-(6)


                                  By: /s/Daniel M. Gluck
                                     DANIEL M. GLUCK
                                     Deputy Corporation Counsel




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                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

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